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18
                            UNITED STATES DISTRICT COURT
19
                           SOUTHERN DISTRICT OF CALIFORNIA
20
21   AL OTRO LADO, INC., et al.,                  Case No. 17-cv-02366-BAS-KSC
22                   Plaintiffs,                  CENTER FOR GENDER &
23                                                REFUGEE STUDIES’ EX PARTE
           v.
                                                  APPLICATION TO WITHDRAW AS
24   ALEJANDRO MAYORKAS, et al.,                  AMICUS CURIAE IN SUPPORT OF
25                  Defendants.                   PLAINTIFFS AND TO WITHDRAW
                                                  ANNIE DAHER AS COUNSEL OF
26                                                RECORD FOR AMICI CURIAE
27
                                                  Declaration of Annie Daher
28                                                Filed Concurrently

                                                            EX PARTE APPLICATION TO WITHDRAW
                                                                           17-cv-02366-BAS-KSC
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 1          PLEASE TAKE NOTICE that, pursuant to Civil Local Rule 83.3, the Center for
 2   Gender & Refugee Studies (“CGRS”) and undersigned counsel hereby apply to this Court
 3   for an order granting CGRS leave to withdraw as amicus curiae in support of Plaintiffs
 4   and undersigned counsel and leave to withdraw as counsel of record for CGRS and other
 5   amici curiae Harvard Immigration & Refugee Clinical Program (“HIRC”) and Boston
 6   University School of Law Immigrants’ Rights and Human Trafficking Program (“Boston
 7   University Clinic”). CGRS previously sought leave to appear in this action as an amicus
 8   curiae in support of Plaintiffs. ECF Doc. 602. With the Court’s leave, CGRS submitted
 9   an amicus brief along with amici curiae HIRC and Boston University Clinic. ECF Docs.
10   602-1, 612.
11          CGRS now seeks leave to withdraw as amicus. Melissa Crow, counsel of record
12   for Plaintiffs, recently joined CGRS as Director of Litigation. Accordingly, CGRS can no
13   longer continue as amicus in this case.
14          Annie Daher, Senior Staff Attorney with CGRS, also seeks leave to withdraw as
15   counsel for CGRS and for amici curiae HIRC and Boston University Clinic. If this
16   request is granted, Annie Daher will enter an appearance as counsel of record for
17   Plaintiffs.
18          The remaining amici, HIRC and Boston University Clinic, will continue in their
19   capacity as amici and will continue to be represented by Sarah Sherman Stokes and
20   Tiffany Lieu, whose pro hac vice application is forthcoming.
21          On February 23, 2022, CGRS conferred by e-mail with Defendants regarding this
22   ex parte application, on which Defendants take no position.
23          Counsel for Defendants and amici curiae CGRS, HIRC, and Boston University
24   Clinic have been served with this application via e-mail, with return receipt requested, as
25   required by this Court’s Standing Order and Civil Local Rule 83.3(f).
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27   ///
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                                                              EX PARTE APPLICATION TO WITHDRAW
                                                                               17-cv-02366-BAS-KSC
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 1   Dated: February 28, 2022        Respectfully submitted,
 2
 3                                   /s/ Annie Daher_____________________
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                                                      EX PARTE APPLICATION TO WITHDRAW
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 1                              CERTIFICATE OF SERVICE
 2
           I certify that I caused a copy of the foregoing CENTER FOR GENDER &
 3
     REFUGEE STUDIES’ EX PARTE APPLICATION TO WITHDRAW AS AMICUS
 4
 5   CURIAE IN SUPPORT OF PLAINTIFFS AND TO WITHDRAW ANNIE DAHER AS
 6
     COUNSEL OF RECORD FOR AMICI CURIAE to be served on all counsel via the
 7
     Court’s CM/ECF system.
 8
 9
10
     Dated: February 28, 2022          /s/ Annie Daher_____________________
11                                     Annie Daher
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                                                        EX PARTE APPLICATION TO WITHDRAW
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